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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

Hadassah Budoff,                                        Case No.

          Plaintiff,

v.

Credit Control, LLC                                                  COMPLAINT
c/o CT Corporation System
208 S. LaSalle Street, Suite 814
Chicago, IL 60604,

          Defendant.                                    Jury Demand Requested

                                      JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §1331 and 15 U.S.C. §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred in

         this District.

                                                  PARTIES

     3- Plaintiff is a resident of the State of Illinois.

     4- Plaintiff incurred an obligation to pay money, the primary purpose of which was for personal,

         family, or household uses (the “Debt”).

     5- Defendant is a corporation with its principal place of business in the State of Missouri.

     6- Defendant uses instruments of interstate commerce for its principal purpose of business,

         which it the collection of debts.

     7- Defendant regularly attempts to collects, or attempts to collect, debts owed or due another.

     8- At all times relevant, Defendant owned the Debt or was retained to collect the Debt.

                                 FACTS COMMON TO ALL COUNTS

     9- On or around September 23, 2011, Plaintiff filed a voluntary bankruptcy petition that

         included the Debt.




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10- Upon the filing of her bankruptcy petition, Plaintiff received the protection of the bankruptcy

   stay provisions, which prevent debt collectors from contacting Plaintiff to collect the Debt.

11- Despite the bankruptcy filing, on or around October 10, 2013, Defendant sent a collection

   letter to Plaintiff misrepresenting that the Debt was owed and payable.

12- Despite the bankruptcy filing, on or around February 4, 2014, Defendant sent a collection

   letter to Plaintiff misrepresenting that the Debt was owed and payable.

13- Despite the bankruptcy filing, on or around March 14, 2014, Defendant sent a collection

   letter to Plaintiff misrepresenting that the Debt was owed and payable.

14- Upon information and belief, Defendant made other attempts to collect the Debt.

15- Defendant’s efforts to collect a debt that was included in a bankruptcy violate 15 U.S.C.

   §1692e(2). See Ross v. RJM Acquisitions Funding, LLC, 480 F.3d 493 (7th Cir. 2007).

16- At the time of these communications, Defendant knew, or should have known, that the Debt

   was included in an active bankruptcy.

17- Upon information and belief, Defendant does not maintain procedures reasonably adapted to

   identify consumers that filed bankruptcy or it would have discovered Plaintiff’s bankruptcy

   filing.

18- Defendant damaged Plaintiff.

19- Defendant violated the FDCPA.

                                               COUNT I

20- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

21- Defendant violated 15 USC § 1692e(2) by sending contacting Plaintiff to collect a debt that

   Defendant knew, or should have known, was included in Plaintiff’s bankruptcy, thereby

   misrepresenting the legal status of the debt

                                              COUNT II

22- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.


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23- Defendant violated 15 USC § 1692e(10) by falsely representing to Plaintiff that it could

    collect a debt that Defendant knew, or should have known, was included in Plaintiff’s

    bankruptcy.

                                                COUNT III

24- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

25- Defendant violated 15 USC § 1692f by unfairly and unconscionably trying to collect a debt

    that Defendant knew, or should have known, was included in Plaintiff’s bankruptcy.



                                                COUNT IV

26- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

27- Defendant violated 15 USC § 1692c(a)(2) by communicating with a consumer after

    Defendant knew, or should have known, that Plaintiff was represented by an attorney

    regarding the debt.

                                         JURY DEMAND

28- Plaintiff demands a trial by jury.

                                    PRAYER FOR RELIEF

29- Plaintiff prays for the following relief:

            a. Judgment against Defendant for Plaintiff’s actual damages, as determined at trial,

                suffered as a direct and proximate result Defendant’s violations of the Fair Debt

                Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

            b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

                violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

                §1692k(a)(2)(A);

            c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

                incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and


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    d. Any other legal and/or equitable relief as the Court deems appropriate.

                                  RESPECTFULLY SUBMITTED,

                                  Meier LLC

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